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IN THE uN:TED STATES oIsTRIcT coURT ~. u.r_:
FoR THE wEsTERN DIsTsicT oF TENNESSEE
wEsTERN DIvIsIoN FH 9 11
HHMWHS

MARION S. EVANS,
Piaintiff,
vs. No. 05-2404-B/P

SHELBY COUNTY DIVISION OF
CORRECTIONS, et al.,

Defendants.

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ORDER DIRECTING THE PLAINTIFF TO FILE A
PROPERLY COMPLETED §§ FORMA PAUPERIS AFFIDAVIT
OR
PAY THE CIVIL FILING FEE

 

Plaintiff Marion S. Evans filed a pro 4§§ complaint
pursuant to Title VII of the Civil Rights Act of 1964, 42 U.S.C. §
2000e §§ s§g;, on June 2, 2005, along with a motion seeking leave
to proceed in forma pauperis.

Federal law provides that the “clerk of each district
court shall require the parties instituting any civil action, suit
or proceeding in such court, whether by original process, removal
or otherwise, to pay a filing fee of” $250. 28 U.S.C. § 1914(a).1
To ensure access to the courts, however, 28 U.S.C. § lQlB(a)
permits an indigent plaintiff to avoid payment of filing fees by
filing an in forma pauperis affidavit. Under that section, the

Court must conduct a satisfactory inquiry into the plaintiff’s

 

1 Effective March 7, 2005, the civil filing fee was increased to $250.

This document entered on the docket heat in oméall§_nce
with ama 53 and/or 79(3) FHCP on é-' l v 5

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ability to pay the filing fee and prosecute the lawsuit. A
plaintiff seeking ip fp;ma pauperis standing must respond fully to
the questions on the Court’s ip fp;ma pauperis form and execute the
affidavit in compliance with the certification requirements
contained in 28 U.S.C. § 1746. See, e.q., Flippin v. Coburn, 107
Fed. Appx. 520 (6th Cir. Aug. 13, 2004); Revnolds v. Federal Bur.
of Prisons, 30 Fed. Appx. 574 (6th Cir. Mar. ll, 2002); Brogue v.
Fort Knox Fed. Credit Union, No. 86-l896, 1997 WL 242043 (6th Cir.
May 8, 1997).

ln this case, the plaintiff’s motion for leave to proceed
pp fppma pauperis does not adequately document the plaintiff’s
sources of income, assets, and monthly expenses. The plaintiff has
provided no information concerning her monthly rent or mortgage
payment or her expenditures on utilities, telephone, food,
transportationr and medical care. The information provided by the
plaintiff is, therefore, insufficient to permit the Court to
conclude that she is indigent and unable to pay the filing fee or
to give security therefor.

Accordingly, the plaintiff is ORDERED, within thirty (30)
days of the date of entry of this order, either to pay the $250
civil filing fee or to file a properly completed ip fp;ma pauperis
affidavit that is executed in compliance with 28 U.S.C. § 1746.
Failure timely to comply with this order will result in dismissal
of this action, pursuant to Fed. R. Civ. P. 4l(b), for failure to

prosecute.

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The Clerk is ORDERED to mail the plaintiff a copy of the

nonprisoner gp forma pauperis affidavit along with this order.

:T rs so oRDERED this 14 day cf Jun@, 2005.

 

. ANIEL BREEN \
UNI ED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02404 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

Marion S. Evans

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Honorable J. Breen
US DISTRICT COURT

